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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

PAUL ANDRE CUEVAS,

          Plaintiff,
                                                     CASE NO.: 3:17-cv-00694-JWD-RLB
v.

CAPITAL ONE, N.A.,

          Defendant.


     ORDER GRANTING JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          Before the Court is Plaintiff Paul Andre Cuevas (“Plaintiff”) and Defendant Capital One,

N.A.’s (“Capital One”) (collectively, the “Parties”) Joint Stipulation of Dismissal with Prejudice.

Having reviewed and considered the Joint Stipulation, and for good cause shown,

          IT IS HEREBY ORDERED that the Joint Stipulation of Dismissal is GRANTED, and this

case and any and all claims asserted therein are DISMISSED WITH PREJUDICE, with each Party

to bear its own fees, costs and expenses.



DONE and ORDERED, this ____          August
                        30th day of _____________, 2018.




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                                              UNITED STATES DISTRICT JUDGE




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